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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DR. ROBERT GERBER                    )
on behalf of Plaintiff and the       )
class members defined below,         )
                                     )
               Plaintiff,            )       2021-cv-2749
                                     )
       v.                            )
                                     )
MOHAWK, INC.,                        )
and JOHN DOES 1-10                   )
           Defendant.                )

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dr. Robert Gerber, voluntarily

dismisses his individual claims against Defendant Mohawk, Inc., with prejudice and without

costs. Plaintiff Dr. Robert Gerber voluntarily dismisses his class claims against Defendant

Mohawk, Inc., without prejudice and without costs. Plaintiff’s claims against Defendants John

Does 1-10 are dismissed without prejudice and without costs.


                                             Respectfully submitted,

                                             s/ Dulijaza (Julie) Clark
                                             Dulijaza (Julie) Clark

                                             Daniel A. Edelman
                                             Dulijaza (Julie) Clark
                                             Edelman, Combs, Latturner & Goodwin LLC
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                                 CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on August 13, 2021, I caused a true and accurate copy
of the foregoing document to be filed via the courts CM/ECF online system, and delivered by mail
and email to the following.


Mohawk, Inc.
Attn: Steve Ford
340 Production Ct.
Louisville, KY 40299

-AND-

William B. Hayes, Esq.
'sqhayes@aol.com'

                                              s/ Dulijaza Clark
                                              Dulijaza (Julie) Clark

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